Captured at: 04/03/2023, 11:06 AM                                                        Case 6:20-cv-00585-ADA Document 272-12 Filed 10/04/23 Page 1 of 1


URL: https://store.google.com/magazine/compare_pixel?hl=en-US&toggler0=Pixel+5&toggler1=Pixel+4a&toggl


                                                                   Fresh deals are here. Celebrate spring with savings on products you love. Browse offers


G Phones earbuds Watches                                  SmartHome          Laptops       Accessories         Subscriptions             Offers                                                                             2
                                                                                                                                                                                                                                                          @


                                                                           Which Pixel phone is right for
                                                                                                                       you?




                            Pixel 5                                                 v               Pixel 4a                                                v           Pixel 4a with 5G                                          v




                                                                                                                    Available colors

                                                        ee




                                                                                                                       Dimensions!




                              5.7"h                                                                                              5.8"d                                     6.1°h                     6.2"d




                                                        2.8'w                                                                                                                                    2.9'w




                                                                                                                         Network?

                       5G*                                                                     4G                                                                    5G?




                                                                                                                             Display
                       Full-screen 6.0-inch (151 mm) display                                   Full-screen 5.8 in (148 mm) display                                   Full-screen 6.2-inch (158 mm) display

                       FHD+ (1080 x 2340) Flexible OLED at 432                                 FHD+ (1080 x 2340) OLED at 443 ppi                                    FHD+ (1080 x 2340) OLED at 413 ppi
                       ppi
                       19.5:9 aspect ratio                                                     19.5:9 aspect ratio                                                   19.5:9 aspect ratio

                       Smooth Display (up to 90 Hz)*

                       Full 24-bit depth for 16 million colors                                 Full 24-bit depth for 16 million colors                               Full 24-bit depth for 16 million colors

                       >1,000,000:1 contrast ratio                                             >100,000:1 contrast ratio                                             >100,000:1 contrast ratio

                       HDR support                                                             HDR Support                                                           HDR support

                       Corning® Gorilla® Glass 6                                               Corning® Gorilla® Glass 3 cover glass                                 Corning® Gorilla® Glass 3 cover glass
                       cover glass


                       Always-on display                                                       Always-on display                                                     Always-on display




                                                                                                                             Battery

                       Typical 4080 mAh$                                                       Typical 3140 mAh’                                                     Typical 3885 mAh$
                       All-day battery”                                                        All-day battery’                                                      All-day battery’
                       Fast charging®                                                                                                                                Up to 48 hours with Extreme Battery Saver”

                       Fast wireless charging®                                                 Fast charging®                                                        Fast charging®




                       Battery Share: Charge other devices
                       wirelessly®



                                                                                                                             Design
                                                                                               Soft touch polycarbonate unibody                                      Soft touch polycarbonate unibody




                       IP68 water and dust resistance’




                                                                                                                 Memory and storage
                       8 GB LPDDR4x RAM                                                        6 GB LPDDR4x RAM                                                      6 GB LPDDR4x RAM

                       128 GB         storage," plus unlimited storage at                      128 GB      storage,” plus unlimited storage at                       128 GB        storage”, plus unlimited storage at
                       high quality with Google Photos"                                        high quality with Google Photos"                                      high quality with Google Photos"


                                                                                                                         Security
                       Titan™ M security module                                                Titan™ M security module                                              Titan™ M security module




                       Pixel Imprint™                                                          Pixel Imprint™                                                        Pixel Imprint™




                                                                                                                        Processors

                       Qualcomm® Snapdragon™ 765G with Octa-                                   Qualcomm® Snapdragon™ 730G                                            Qualcomm® Snapdragon™ 765G with Octa-
                       Core                                                                                                                                          Core

                       Adreno 620                                                              Adreno 618                                                            Adreno 620




                                                                                                                      Rear camera

                       12.2 MP dual-pixel                                                      12.2 MP dual-pixel                                                    12.2 MP dual-pixel



                                aperture                                                                aperture                                                             aperture
                       Autofocus with dual pixel phase detection                               Auto-focus with dual-pixel phase                                      Autofocus with dual pixel phase detection
                                                                                               detection

                       Optical + electronic image stabilization                                Optical + electronic image stabilization                              Optical + electronic image stabilization
                       77° field of view                                                       77° field of view                                                     77° field of view

                       1.4 um pixel width                                                      1.4 um pixel width                                                    1.4 um pixel width




                       16 MP ultrawide?                                                                                                                              16 MP ultrawide®

                                 aperture                                                                                                                            £/2.2 aperture
                       117° field of view?                                                                                                                           117° field of view?

                       1.0 um pixel width                                                                                                                            1.0 um pixel width

                       Spectral + flicker sensor                                                                                                                     Spectral + flicker sensor




                                                                                                                      Front camera

                       8MP                                                                     8MP                                                                   8MP

                       12.0 aperture                                                           f/2.0 aperture                                                                aperture
                       Fixed focus                                                             Fixed focus                                                           Fixed focus

                       83° field of view                                                       84° field of view                                                     83° field of view

                       1.12 um pixel width                                                     1.12 um pixel width                                                   1.12 um pixel width




                                                                                                                   Camera features




                       Night Sight                                                             Night Sight                                                           Night Sight
                       Top Shot                                                                Top Shot                                                              Top Shot
                       Portrait Mode                                                           Portrait Mode                                                         Portrait Mode

                       Super Res Zoom                                                          Super Res Zoom                                                        Super Res Zoom
                       Motion Auto Focus                                                       Motion Auto Focus                                                     Motion Auto Focus

                       Live HDR+                                                               Live HDR+                                                             Live HDR+

                       Frequent Faces                                                          Frequent Faces                                                        Frequent Faces
                       Dual exposure controls                                                  Dual exposure controls                                                Dual exposure controls

                       Cinematic Pan                                                                                                                                 Cinematic Pan

                       Ultrawide Lens                                                                                                                                Ultrawide Lens

                       Portrait Light                                                                                                                                Portrait Light




                                                                                                                             Audio

                       Stereo speakers                                                         Stereo speakers                                                       Stereo speakers

                       USB-C™ audio                                                            USB-C™ audio                                                          USB-C™ audio

                       -
                                                                                               3.5 mm audio jack                                                     3.5 mm      audio jack

                                                                                                                        Pixel Pass

                       Not eligible                                                            Not eligible                                                          Not eligible




                                                                                                                   Operating system
                       Launched with Android 11                                                Launched with Android 10                                              Launched with Android 11




      Dimensions and weight vary by          configuration and manufacturing process.
 2 Contact carrier for details.        5G service is carrier dependent. Learn more about 5G network         compatibility.
 2
      Requires a 5G data plan (sold separately). 5G service not available on all carrier networks or in all areas. Contact carrier for details. 5G service, speed and performance depend on many factors including, but not limited
      to, carrier network capabilities, device configuration and capabilities, network traffic, location, signal strength and signal obstruction. Actual results may vary. Some features not available in all areas. Data rates may
      apply. Learn more about 5G network compatibility.
 4
      Not available for all apps or content.        Display automatically adjusts to optimize for best viewing and battery performance.
 5
      Estimate of typical capacity based upon testing and expected cell behavior.

 © Pixel 7 Pro and Pixel 7: Fast wired
                                                 charging rates (up to 21W on Pixel 7 and up to 23W on Pixel 7 Pro) are based upon use of the Google 30W USB-C® Charger plugged into a wall outlet. Actual results may be slower.
      Adapters sold separately. Charging speed based upon testing with device batteries drained to 1% and charged with Google 30W USB-C® Charger. Charging testing conducted by Google in mid-2022 on preproduction
      hardware and software using default settings with the device powered on. Charging speed depends upon many factors including usage during charging, battery age, and ambient temperature. Actual charging speed
      may be slower. Wireless charging rates up to 21W (Pixel 7) and up to 23W (Pixel 7 Pro) charging with Google Pixel Stand (2nd gen) (sold separately). Up to 12W with Gi-certified EPP chargers (sold separately). Actual
      results may be slower.


      Pixel 6a: Wired      charging rates up to 18W based on use of Google 30W USB-C® or Google                 USB-C®   Charger plugged into a wall outlet. Actual results may be slower. Adapters sold separately. Compatible with USB PD
      3.0 PPS adapters.


      Pixel 5/Pixel 4a (59): Up to 12 W with Pixel 5 charging with Gi certified EPP charger (sold separately). Actual results may be slower. Gi-certified.


      Pixel 4a: Up to 18W wired charging rates are based upon use of the included charger plugged into a wall outlet. Actual results may vary.


      Pixel 4 / Pixel 4 XL: Up to 10 W with Pixel 4 or Pixel 4 XL charging with Pixel Stand (sold separately). Actual results may vary.


      Pixel 3a: Up to 18W wired charging rates are based upon use of the included charger plugged into a wall outlet. Actual results may be slower.


      Pixel 3 / Pixel 3 XL: Up to 10 W with Pixel 3 and Pixel 3 XL charging with Pixel Stand (sold separately). Actual results may vary.


      Pixel 2 / Pixel 2 XL: Up to 18W wired charging rates are based upon use of the included charger plugged into a wall outlet. Actual results may be slower.


          /
      Pixel Pixel XL: Ip to 18W wired charging rates are based upon use of the included charger plugged into a wall outlet. Actual results may be slower.

      Pixel 7 Pro and Pixel 7: For “24-hour”: Estimated battery life based on testing using a median Pixel user battery usage profile across a mix of talk, data, standby, and use of other features. Average battery life during
  ”




      testing was approximately 31 hours. Battery testing conducted on a major carrier network. For “Up to 72 hours”: Estimated battery life based on testing using a median Pixel user battery usage profile across a mix of talk,
      data, standby, and use of limited other features that are default in Extreme Battery Saver mode (which disables various features including 5G connectivity). Battery testing conducted on a major carrier network. For both
      claims: Battery testing conducted in California in early 2022 on pre production hardware and software using default settings, except that, for the “up to 72 hour” claim only, Extreme Battery Saver mode was enabled.
      Battery life depends upon many factors and usage of certain features will decrease battery life, Actual battery life may be lower.

      Pixel 6a: For “24-hour”: Estimated battery life based on testing using a median Pixel user battery usage profile across a mix of talk, data, standby, and use of other features. Average battery life during testing was
      approximately 29 hours. Battery testing conducted using Sub-6 GHz non-standalone 5G (ENDC) connectivity. For “Up to 72 hours”: Estimated battery life based on testing using a median Pixel user battery usage profile
      across a mix of talk, data, standby, and use of limited other features that are default in Extreme Battery Saver mode (which disables various features including 5G connectivity). Battery testing conducted on a major

      carrier network. For both claims: Battery testing conducted in California in early 2022 on pre-production hardware and software using default settings, except that, for the “up to 72 hour” claim only, Extreme Battery

      Saver mode was enabled. Battery life depends upon many factors and usage of certain features will decrease battery life. Actual battery life may be lower.


      Pixel 6 Pro and Pixel 6: For "beyond 24 hours": Estimated battery life based on testing using a mix of talk, data, standby, and use of other features. Average battery life during testing was 34 hours. Battery life depends

                                                                                                                             a
      upon many factors and usage of certain features will decrease battery life. Battery testing conducted by third party in California in mid 2021 on pre-production hardware and software, using default settings. Battery
      testing conducted using two major carrier networks using Sub-6 GHz non-standalone 5G (ENDC) connectivity. Actual battery life may be lower.

      For “all-day”: Maximum battery life based on testing using a mix of talk, data, standby, and use of other features. Testing conducted on two major carrier networks using Sub-6 GHz non-standalone 5G (ENDC)


      various features
                                                2
      connectivity. For “Up to 48 hours / days”: Maximum battery life based on testing using a mix of talk, data, standby, and use of limited other features that are default in Extreme Battery Saver mode (which disables
                      including 5G connectivity). Testing conducted on two major carrier networks. For both claims: Pixel Sa with 5G battery testing conducted by a third party in California in early 2021 on pre-production
      hardware and software using default settings, except that, for the “up to 48 hour/ 2 days claim” only, Extreme Battery Saver mode was enabled. Battery life depends upon many factors and usage of certain features will
      decrease battery life. Actual battery life may be lower.


      Pixel 5 and Pixel 4a (5g): Maximum battery life based on testing using a mix of talk, data, standby, and use of other features. Battery life depends upon many factors and usage of certain features will decrease battery
      life. Pixel 4a (5G) and Pixel 5 battery testing conducted by a third party in California in mid 2020 on pre-production hardware and software, using default settings. Testing conducted on two major carrier networks using
      Sub-6 GHz non-standalone 5G (ENDC) connectivity. Actual battery life may be lower.


      Pixel 4a: Approximate battery life based on a mix of talk, data, standby, and use of other features, with always on display off. An active display and other usage factors will decrease battery life, Pixel 4a battery testing
      conducted in Mountain View, California in early 2020 on pre-production hardware and software. Actual results may vary.


      Pixel 4 / Pixel 4 XL: Approximate battery life based on a mix of talk, data, standby, mobile hot spot and use of other features, with Motion Sense off and always on display off. Use of Motion Sense, an active display or
      data usage will decrease battery life, Pixel 4 and 4 XL testing conducted in Mountain View, California in August 2019 on pre-production hardware and software. Actual results may vary.


      Pixel 3a and Pixel 3a XL: Approximate battery life based on a mix of talk, data, standby, mobile hot spot and use of other features, with always on display off. An active display or data usage will decrease battery life.
      Actual results may vary.


      Pixel 3 and Pixel 3 XL: Approximate battery life based on a mix of talk, data, standby and use of other features, with always on display off and mobile hotspot off. An active display or data usage will decrease battery life.
      Wired charging: rates are based on use of the included charger. Wireless charging: Up to 10 W with Pixel 3 and Pixel 3 XL charging with Pixel Stand (sold separately). Actual results may vary.


      Pixel 2 and Pixel 2 XL: Approximate battery life based on a mix of talk, data, and standby use with always on display off. Requires use of included charger. An active display or data usage will decrease battery life. Actual
      results may vary, see website for details.


      Pixel and Pixel XL: Battery use statistics are approximate and represent mixed use of talk, standby, web browsing, and other features, according to an average user profile as defined by Google. Uses that involve an
      active   display or data usage will use battery more quickly, actual results may vary. Charging rates are based on use of the included USB Type-C 18W charger.
      Designed to charge Gi-certified devices. Use of reverse wireless charging significantly reduces Pixel battery life. Cases may interfere with charging and will reduce charging speed. Charge speeds may vary. Learn more
      about wireless charging,

      Pixel 7 Pro and Pixel 7: Designed to comply with water protection rating IPX8 under IEC standard 60529 when each device leaves the factory but device is not waterproof. The accessories are not water resistant. Water
      resistance is not a permanent condition, and diminishes or is lost over time due to normal wear and tear, device repair,                disassembly or damage. Dropping your device may result in loss of water resistance. Liquid damage
      voids    the warranty, See g.co/pixelwater.


      Pixel 6a: Designed to comply with water protection rating IPXT under IEC standard 60529 when each device leaves the factory but device is not waterproof. The accessories are not water resistant. Water resistance is
      not a permanent condition, and diminishes or is lost over time due to normal wear and tear, device repair,                 disassembly or damage. Dropping your device may result in loss of water resistance. Liquid damage voids the
      warranty. See g,co/pixeliwater

      Pixel Sa with 5G has a water protection rating of IPX7 under IEC standard 60529. Charger and accessories are not water resistant. Water resistance is not a permanent condition and may be compromised due to normal
      wear and tear,    repair, disassembly or damage.

      Pixel 5: Pixel 5 has a water protection rating of IPX8 under IEC standard 60529.            Charger and accessories are not water resistant. Water resistance is not a permanent condition and may be compromised due to normal
      wear and tear, repair,     disassembly or damage.

      Pixel 4 and Pixel 4 XL have a water protection rating of IPX8 under IEC standard 60529. Charger and accessories are not water resistant. Water resistance is not a permanent condition and may be compromised due to
      normal
                wear and    tear, repair,   disassembly or damage.

      Pixel 3 and Pixel 3 XL have a water protection rating of IPX8 under IEC standard 60529.            Charger and accessories are not water resistant.

      Pixel 2 and Pixel 2 XL has a water protection rating of IP67 under IEC standard 60529.            Charger and accessories are not water resistant.

 ®
       Storage specifications refer to capacity before formatting. Actual formatted capacity will be less.
      Pixel 5, Pixel 4a (5G), Pixel 4a, Pixel 4 and Pixel 4 XL: Google Photos offers unlimited online storage for all photos and videos uploaded in high-quality. Photos and videos uploaded in high-quality may be compressed or
      resized, Requires Google Account and internet connection. Data rates may apply. Learn more about
                                                                                                                      uploadingphotos         and videos.


      Pixel 3a and Pixel 3a XL: Google Photos offers free unlimited online storage for all photos and videos uploaded in high-quality. Photos and videos uploaded in high-quality may be compressed or resized. Requires Google
      Account. Data rates may         apply. Learn more about     uploadingphotos   and videos.


      Pixel 3 and Pixel 3 XL: Free unlimited online original-quality storage for all photos and videos uploaded to Google Photos from Pixel 3 through 1/31/2022. Photos and videos uploaded before 1/31/2022 will remain free at
      original-quality. Requires Google Account. Data rates may apply. Learn more about               uploadingphotos   and videos.


      Pixel 2 and Pixel 2 XL: Free, unlimited original-quality storage for photos and videos taken with Pixel through the end of 2020, and free, unlimited high-quality storage for photos taken with Pixel afterwards.


      Pixel and Pixel XL: Unlimited original quality storage of photos/videos taken with your Pixel, high quality for all other photosivideos. Requires Google Account. Data rates may apply.

 ® Maximum resolution and field of view with RAW
                                                                image files setting turned on. Setting is turned off by default. See g.co/pixel/photoediting for more information.
      Measured      diagonally; dimension may vary by configuration and manufacturing process.
      Magic Eraser may not work on all image elements
      HR brightness measured at 100% on-pixel ratio, Peak Brightness measured at 5% on-pixel ratio.

 %
      Coming soon. Restrictions apply. Some data is not transmitted through VPN. Not available in all countries. All other Google One membership benefits sold separately. Pixel VPN offering does not impact price or benefits
      of Google One Premium plan. Use of VPN may increase data costs depending on your plan. See g.colpixel/vpn for details.

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                                                                                                                                                                      Shipping options                       Help Center

                                                                                                                                                                      Tracking a package                     Contact Us


                                                                                                                                                                      Country availability                   Financing

                                                                                                                                                                     Repairs                                 Device   recycling

                                                                                                                                                                     Installation                            Sustainability

                                                                                                                                                                      Ideas & Info                           Gift returns


                                                                                                                                                                                                             Refurbished


                                                                                                                                                                                                             Trade-in


                                                                                                                                                                                                             Pixel for Business
                                                                                                                                                                                                                                            PLAINTIFF'S
                                                                                                                                                                                                                                              EXHIBIT

                                                                                                                                                                                                             Locations                   PTX-451
                                                                                                                                                                                                                                          6:20-cv-572/580/584/585


                                                                                                                                                                                                                                         PTX-451-0001




                   YORnRQd                                                                    EE United states
                                                                                                                         Privacy             Google Nest Commitment to Privacy         Sales Terms           Terms of Service         Careers


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